                  Case 2:04-cv-09049-DOC-RNB
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                    8                           UNITED STATES DISTRICT COURT
                    9                          CENTRAL DISTRICT OF CALIFORNIA
                   10                                EASTERN DIVISION
                   11 ^ CARTER BRYANT, ari individual,        CASE NO. CV 04-9049 SGL (RNBx)
                                                              Consolidated with
                   12                                         Case Nos. CV 04-09059 & CV OS-2727
                                        Plaintiff,
                   13                                         DISCOVERY MATTER
                               vs.
                  14                                          ITo Be Heard By Discovery Master
                                                              Hon. Edward Infante (Ret.)]
                  15' MATTEL, INC., a Delaware
                      corporation,                            [PUBLIC REDACTED]
                  16                                          DECLARATION OF B. DYLAN
                                                              PROCTOR IN SUPPORT OF
                  17                    Defendant.            MOTION OF MATTEL, INC. TO
                                                              ENFORCE THE COURT'S ORDER
                  18                                          OF MAY 15, 2007, TO COMPEL
                                                              MGA TO PRODUCE COMPELLED
                  19 AND CONSOLIDATED ACTIONS                 CALENDARS, AND FOR
                                                              SANCTIONS
                  20
                                                              Date: TBA
                  21                                          Time: TBA
                                                              Place: TBA
                  22
                                                              Phase 1
                  23                                          Discovery Cut-Off: January 28 2008
                                                              Pre-Trial Conference: May 5, 2008
                  24                                          Trial Date:           May 27, 2008
                  25
                  26
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                                                                       DECLARATION OF B. DYLAN PROCTOR
                  Case 2:04-cv-09049-DOC-RNB Document 1745-2 Filed 01/29/08 Page 2 of 5 Page ID
                                                   #:24077


                       1                      DECLARATION OF B. DYLAN PROCTOR
                       2
                                         I, B. Dylan Proctor, declare as follows:
                       3
                                  1.     I am a member of the bar of the State of California and a partner of
                    4
                           Quinn Emanuel Urquhart Oliver & Hedges , LLP, attorneys for Mattel, Inc. I make
                    5
                           this declaration of personal , firsthand knowledge, and if called and sworn as a
                    6
                           witness, I could and would testify competently thereto.
                   7
                                  2.     On December 19, 2007, I contacted MGA to request that the parties
                   8
                           meet and confer regarding MGA's failure to produce compelled calendars and
                   9
                           planners reflecting its work on Bratz prior to 2001, including for the year 2000,
                  10
                           among other things. Attached as Exhibit 1 is a true and correct copy of my
                  11
                           December 19, 20071etter to Timothy Miller, MGA's counsel, reflecting same.
                  12
                                  3.      On January 4, 2008, during the meet and confer , MGA's counsel
                  13
                           represented that MGA had found planners from the year 2000 for Rebecca Harris
                  14
                           and Julie Chomo and would produce them . MGA also confirmed that it had located
                  15
                           calendars for Isaac Larian which have not been produced, including for the year
                  16
                           2000, and promised to investigate whether its employees used calendars other than
                  17
                           the Franklin Planners , such as an electronic Microsoft Outlook calendar. The parties
                  18
                           agreed that MGA would report back to Mattel regarding its investigation the
                  19
                           following week. Attached as Exhibit 2 is a true and correct copy of my January 4,
                  20
                           2008 letter to Andrew Temkin, MGA's counsel, reflecting same. MGA did not
                  21
                           respond.
                  22
                                 4.      On January 10, 2008, I contacted MGA again, asking it to produce the
                  23
                           additional documents it had located to date and inform Mattel of the results of its
                  24
                           investigation . Attached as Exhibit 3 is a true and correct copy of my January 10,
                  25
                           2008 letter to Mr. Temkin.
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                                                                                    DECLARATION OF B. DYLAN PROCTOR
                  Case 2:04-cv-09049-DOC-RNB Document 1745-2 Filed 01/29/08 Page 3 of 5 Page ID
                                                   #:24078


                    1        5.     In response, MGA informed me that it could not locate year 2000
                   2 Franklin Planners for any of its employees other than Julie Chomo. MGA also
                   3 refused to produce any of Larian's withheld calendars, and represented that it is still
                   4 "investigating" whether any of its employees used electronic calendars in the year
                   5 2000, such as Microsoft Outlook. Attached as Exhibit 4 is a true and correct copy of
                   6 Mr. Temkin's January 10, 2008 letter to me, reflecting same.
                   7         6.     Nearly two weeks later, MGA informed me that it would not be
                   8 producing Ms. Chomo's year 2000 planners after all. MGA also confirmed that
                   9 several electronic Outlook calendars were located which its employees used in the
                  10 year 2000. Attached as Exhibit 5 is a true and correct copy of Mr. Temkin's January
                  11 23, 2008 letter to me, reflecting same.
                  12         7.    Attached as Exhibit 6 is a true and correct copy of excerpts from
                  13 Mattel's First Set of Requests for Documents and Tangible Things to MGA, dated
                  14 March 14, 2005.
                  15         8.    Attached as Exhibit 7 is a true and correct copy of Mattel's Notice of
                  16 (Motion and Motion to Compel Production of Documents and Interrogatory Answers
                  17 by MGA, dated February 2, 2007.
                  18         9.    Attached as Exhibit 8 is a true and correct copy of the Order Granting
                  19 Mattel's Motion to Compel Production of Documents and Interrogatory Responses
                  20I by MGA, dated May 15, 2007.
                  211        10.   Attached as Exhibit 9 is a true and correct copy of MGA
                  22 Entertainment's Memorandum of Points and Authorities in Support of Motion
                  23 Objecting to Portions of the Discovery Master's May 15, 2007 Order, dated May 30,
                  24 2007.
                  25         11.   Attached as Exhibit 10 is a true and correct copy of the Court's July 2,
                  26 2007 Order.
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                                                                            DECLARATION OF B. DYLAN PROCTOR
                  Case 2:04-cv-09049-DOC-RNB Document 1745-2 Filed 01/29/08 Page 4 of 5 Page ID
                                                   #:24079


                        1       12.   Attached as Exhibit 11 is a true and correct copy of excerpts from the
                       2 Deposition of David Malacrida, dated August 30, 2007.
                       3        13.   Attached as Exhibit 12 is a true and correct copy of excerpts from the
                       4 Deposition of Kerri Brode, dated August 15, 2007.
                       5        14.   Attached as Exhibit 13 is a true and correct copy of excerpts from the
                       6 Deposition of Rebecca Harris, dated July 20, 2007.
                       7        15.   Attached as Exhibit 14 is a true and correct copy of excerpts form the
                       8 Deposition of Paula Garcia, dated May 24, 2007.
                       9        16.   Attached as Exhibit 15 is a true and correct copy of excerpts from the
                   10 Deposition of Isaac Larian, dated July 18, 2006.
                   11           17.   Attached as Exhibit 16 is a true and correct copy of excerpts from the
                   12 Deposition of Anna Rhee, dated February 3, 2005.
                   13           18.   Attached as Exhibit 17 is a true and correct copy of documents bates-
                  14 stamped MGA 878778-80, as produced by MGA on September 21, 2007.
                  15           19.    Attached as Exhibit 18 is a true and correct copy of documents bates-
                  16 ' stamped MGA 0046752-56, as produced by MGA on May 22, 2007.
                  17           20.    Attached as Exhibit 19 is a true and correct copy of excerpts from
                  18 Farhad Larian's Complaint in Larian v. Larian, Case No. BC301371, dated August
                  19 25, 2003.
                  20           21.    Attached as Exhibit 20 is a true and correct copy of Mattel's Motion to
                  21 Enforce the Court's Order of May 15, 2007 to Compel MGA to Produce Compelled
                  22 Documents in Un-Redacted Form.
                  23           22.    Attached as Exhibit 21 is a true and correct copy of the Order re:
                  24 Mattel's Motion to Enforce the Court's Order of May 15, 2007, dated December 19,
                  25 2007.
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                                                                               DECLARATION OF B. DYLAN PROCTOR
                  Case 2:04-cv-09049-DOC-RNB Document 1745-2 Filed 01/29/08 Page 5 of 5 Page ID
                                                   #:24080

                       1        23.    Mattel has incurred attorney's fees in excess of $3,500 in bringing this
                       2 motion.
                       3               I declare under penalty of perjury under the laws of the United States of
                       4 America that the foregoing is true and correct.
                       5
                       6              Executed on January 28, 2008, at Los        e
                       7
                       8                                             B. Dylan Proctor
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                                                                               DECLARATION OF B. DYLAN PROCTOR
